  Case 1:19-cv-03544 Document 1 Filed 12/16/19 USDC Colorado Page 1 of 24




 Jonathan D. Selbin                                        Civil Action No. 1:19-cv-03544
 Annika K. Martin
 Anne B. Shaver (Colorado Bar No. 39933)
 Rachel E. Green
 LIEFF CABRASER HEIMANN & BERNSTEIN, LLP
 250 Hudson Street, 8th Floor
 New York, NY 10013-1413
 Telephone: (212) 355-9500
 Facsimile: (212) 355-9592
 E-mail: jselbin@lchb.com
         akmartin@lchb.com
         ashaver@lchb.com
         rgreen@lchb.com

 Tyler H. Fox
 TYLER FOX, ESQ.
 689 Massachusetts Ave.
 Cambridge, MA 02139
 Telephone: (866) 296-1965
 E-mail: tylerfox@verizon.net

 Pamela Maass (Colorado Bar No. 42408)
 MAASS LAW
 26 W. Dry Creek Cir., Suite 600
 Littleton, CO 80120
 Telephone: (720) 899-3541
 E-mail: pam@lifelegacyfirm.com

 Attorneys for Plaintiffs and the Putative Class

                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

Lena Ramsay and Jane Doe, individually and on behalf of all others similarly situated,

                  Plaintiffs,
       v.

FRONTIER, INC.,
                  Defendant.


                                CLASS ACTION COMPLAINT

                                DEMAND FOR JURY TRIAL
   Case 1:19-cv-03544 Document 1 Filed 12/16/19 USDC Colorado Page 2 of 24




                                                    TABLE OF CONTENTS

                                                                                                                                        Page

NATURE OF THE ACTION ........................................................................................................ 1
JURISDICTION AND VENUE .................................................................................................... 2
PARTIES ....................................................................................................................................... 3
           A.         Plaintiff Lena Ramsey............................................................................................ 3
           B.         Plaintiff Jane Doe ................................................................................................... 4
           Defendant Frontier ............................................................................................................. 4
FACTUAL ALLEGATIONS ........................................................................................................ 5
           A.         The Prevalence of In-Flight Passenger-on-Passenger Sexual Assault is
                      Well-Known. .......................................................................................................... 5
           B.         Frontier Has A Duty to Protect And Aid Its Passengers........................................ 8
           C.         Frontier Breached Its Duty to Its Passengers By Failing to Have or
                      Enforce Adequate Policies and Procedures To Prevent and Properly
                      Respond to In-Flight Sexual Assaults. ................................................................... 9
           D.         As a Result of Frontier’s Failure to Have or Enforce Adequate Policies
                      and Procedures, Its Passengers Are Put At Risk and Harmed. ............................ 10
CLASS ACTION ALLEGATIONS ............................................................................................ 10
FIRST CLAIM FOR RELIEF NEGLIGENCE ........................................................................... 13
SECOND CLAIM FOR RELIEF NEGLIGENT INFLICTION OF
     EMOTIONAL DISTRESS .............................................................................................. 15
THIRD CLAIM FOR RELIEF INTENTIONAL INFLICTION OF
     EMOTIONAL DISTRESS .............................................................................................. 16
FOURTH CLAIM FOR RELIEF WILLFUL AND WANTON
     CONDUCT ...................................................................................................................... 16
FIFTH CLAIM FOR RELIEF INJUNCTIVE AND EQUITABLE
      RELIEF ............................................................................................................................ 17
PRAYER FOR RELIEF .............................................................................................................. 19
DEMAND FOR JURY TRIAL ................................................................................................... 21




                                                                       -i-
    Case 1:19-cv-03544 Document 1 Filed 12/16/19 USDC Colorado Page 3 of 24




        Plaintiffs Lena Ramsay and Jane Doe (“Plaintiffs”), on behalf of themselves and all

others similarly situated, file this class action against Frontier, Inc. (“Frontier”), and allege as

follows:

                                   NATURE OF THE ACTION

        1.      This is a class action against Frontier for failure to have and/or follow policies and

procedures to prevent, report, and respond to sexual assault of its passengers on its flights.

        2.      The prevalence of passenger-on-passenger in-flight sexual assault is a well-

known, and growing, problem. In fact, in 2018, the FBI issued a warning – to airlines and the

public at large – that the number of sexual assaults reported during commercial airline flights has

been increasing “at an alarming rate.”1

        3.      Frontier, like all airlines, has an affirmative duty to aid and protect its passengers.

This duty includes protecting passengers from sexual assaults by fellow passengers, and

responding properly to in-flight sexual assaults that do occur.

        4.      Frontier violated this duty by failing to implement and enforce appropriate

policies and procedures to prevent, or properly respond to, sexual assaults that occur on its

flights; failing to report in-flight sexual assaults to the proper authorities, or to any authorities;

and failing to cooperate with authorities in the reporting and investigation process into in-flight

sexual assaults.




1
 Javier De Diego et al., FBI: Sexual Assaults on Flights Increasing ‘At An Alarming Rate’, CNN
POLITICS (June 20, 2018, 9:19 PM ET), https://www.cnn.com/2018/06/20/politics/fbi-airplane-sexual-
assault/index.html.




                                                    1
  Case 1:19-cv-03544 Document 1 Filed 12/16/19 USDC Colorado Page 4 of 24




          5.    As a result of these violations by Frontier, Plaintiffs were sexually assaulted by

their fellow passengers while they were on Frontier flights, and are at an ongoing risk for future

sexual assaults.

          6.    Frontier’s failure to implement and enforce polices to prevent and properly

respond to in-flight sexual assault led Frontier employees and representatives to fail to properly

respond to those assaults; fail to report the assaults to the any authorities; and fail to cooperate

with authorities investigating those assaults.

          7.    Frontier’s actions and inactions were – and are – part of a pattern of behavior and

a common course of conduct towards all its passengers, including Plaintiffs and Class members.

          8.    Plaintiffs seek appropriate relief, including but not limited to compensatory

damages and injunctive relief, on behalf of all others similarly situated who were unnecessarily

put at risk and harmed by Frontier’s common course of misconduct.

                                 JURISDICTION AND VENUE

          9.    The Court has subject matter jurisdiction over this action under the Class Action

Fairness Act of 2005, 28 U.S.C. § 1332(d), because: (a) Plaintiffs seek to represent a nationwide

class of thousands of Frontier Airlines passengers, (b) the amount in controversy exceeds

$5,000,000, excluding interest and costs, (c) the proposed class consists of more than 100

individuals, and (d) none of the exceptions under the subsection applies to this section.

          10.   The claims asserted involve matters of national and interstate interest.

          11.   Members of the proposed class are dispersed among a substantial number of

states.




                                                   2
  Case 1:19-cv-03544 Document 1 Filed 12/16/19 USDC Colorado Page 5 of 24




        12.      This Court has personal jurisdiction over Defendant. Frontier’s headquarters are

located in this District, Frontier conducts substantial business here, and Frontier has intentionally

availed itself of the laws and markets of this District. Upon information and belief, a significant

portion of the acts and omissions complained of, including corporate policy-making and the

direction, implementation, and enforcement of any policy acts and omissions, occurred within

this District.

        13.      Venue is proper in this District under 28 U.S.C. § 1391 because a substantial part

of the actions or omissions giving rise to the claims occurred in this District.

                                              PARTIES

        A.       Plaintiff Lena Ramsey

        14.      Plaintiff Lena Ramsay is a resident of Denver, Colorado, and a citizen of the

United States.

        15.      Plaintiff Lena Ramsay was sexually assaulted by a male passenger on a Frontier

flight from Denver to Providence on or about October 20, 2018.

        16.      She immediately reported the incident to a flight attendant.

        17.      The flight attendant refused to let her switch seats to move away from her

assailant.

        18.      The flight attendant did not report the incident to anyone else.

        19.      The flight attendant did not ask that law enforcement be contacted to meet the

plane upon landing.




                                                   3
  Case 1:19-cv-03544 Document 1 Filed 12/16/19 USDC Colorado Page 6 of 24




          20.   Frontier failed to cooperate and assist Plaintiff Lena Ramsay with evidence

concerning her assault, including refusing to provide her (or the FBI) with the identities of her

assailant and potential witnesses.

          B.    Plaintiff Jane Doe

          21.   Given the sensitive nature of the claims, Plaintiff Jane Doe is using a pseudonym

in this litigation to protect her privacy. Plaintiff Jane Doe seeks permission in a related motion to

proceed under this pseudonym.

          22.   Plaintiff Jane Doe is a resident of Denver, Colorado, and a citizen of the United

States.

          23.   Plaintiff Jane Doe was sexually assaulted by a male passenger on a Frontier flight

from Denver to Florida on or about November 30, 2018.

          24.   Plaintiff Jane Doe reported her assault to a flight attendant.

          25.   The flight attendant did not report the incident to anyone else.

          26.   The flight attendant did not ask that law enforcement be contacted to meet the

plane upon landing.

          27.   Frontier failed to cooperate and assist Plaintiff Jane Doe with evidence

concerning her assault, including refusing to provide her with the identities of her assailant and

potential witnesses.

          Defendant Frontier

          28.   Defendant Frontier is an airline carrier headquartered and with its principal place

of business in Denver, Colorado; and doing business in Denver, Colorado.




                                                  4
    Case 1:19-cv-03544 Document 1 Filed 12/16/19 USDC Colorado Page 7 of 24




                                   FACTUAL ALLEGATIONS

        A.      The Prevalence of In-Flight Passenger-on-Passenger Sexual Assault is Well-
                Known.

        29.     In June 2018, the FBI issued a statement that the number of sexual assaults

reported during commercial airline flights is increasing “at an alarming rate,” and the number of

actual cases could be much higher than those reported.2

        30.     Crimes aboard aircraft fall within the FBI’s jurisdiction, and the agency said its

investigations into in-flight sexual assaults increased by 66% from fiscal year 2014 to 2017.3

        31.     The International Air Transport Association reported 812 incidents during 2018

that were categorized as inappropriate behavior such as touching, sexual harassment, physical

aggression, or indecent acts.4

        32.     In a 2017 Association of Flight Attendants survey, 20% of flight attendants

reported receiving a passenger report of in-flight sexual assault.5

        33.     Airline passenger organization FlyersRights.org released 20 detailed passenger

complaints of in-flight sexual assaults, made to the U.S. Department of Transportation and

obtained via FOIA requests; these reports, too, provide a sense of the scope and frequency of in-

flight sexual assault.6


2
  Javier De Diego et al., FBI: Sexual Assaults on Flights Increasing ‘At An Alarming Rate’, CNN
POLITICS (June 20, 2018, 9:19 PM ET), https://www.cnn.com/2018/06/20/politics/fbi-airplane-sexual-
assault/index.html.
3
  Sexual Assault Aboard Aircraft: Raising Awareness About a Serious Federal Crime, FBI NEWS
(Apr. 26, 2018), https://www.fbi.gov/news/stories/raising-awareness-about-sexual-assault-aboard-aircraft-
042618.
4
  INTERNATIONAL AIR TRANSPORT ASSOCIATION, SAFETY REPORT 2018, p. 111-112,
https://libraryonline.erau.edu/online-full-text/iata-safety-reports/IATA-Safety-Report-2018.pdf.
5
  #MeToo in the Air, ASSOCIATION OF FLIGHT ATTENDANTS-CWA, https://www.afacwa.org/metoo#a1.
6
  https://flyersrights.org/wp-content/uploads/2018/11/DOT-Sexual-Assault-Records.pdf.



                                                   5
    Case 1:19-cv-03544 Document 1 Filed 12/16/19 USDC Colorado Page 8 of 24




          34.   News media has been reporting on the prevalence of in-flight sexual assaults for

years.7

          35.   The FBI itself noted the similarity of these crimes: “…agents describe elements

of these crimes as being strikingly similar. The attacks generally occur on long-haul flights when

the cabin is dark. The victims are usually in middle or window seats, sleeping, and covered with

a blanket or jacket. They report waking up to their seatmate’s hands inside their clothing or

underwear.”8

          36.   The FBI also noted what should happen in response to a passenger reporting an

incident to a member of the flight crew: “Flight attendants and captains represent authority on

the plane…they can alert law enforcement, and they can sometimes deal with the problem in the

air. The flight crew can also put the offender on notice, which might prevent further problems. If

alerted in advance [by the pilot radioing ahead to the airport], FBI agents can be on hand when




7
  See, e.g., Andrew Appelbaum, Recent In-Flight Sexual Abuse Complaints to Feds Released by Airline
Passenger Group…Nothing Done?, FLYERSRIGHTS.ORG (Nov. 29, 2018), https://flyersrights.org/press-
release/recent-in-flight-sexual-abuse-complaints-to-feds-released-by-airline-passenger-group/; Nora
Caplan-Bricker, Flight Risk, SLATE (Aug. 31, 2016), https://slate.com/human-interest/2016/08/flight-
risk.html; Delta Passenger Sues Airline, Claims Crew Didn’t Detain Passenger Who Sexually Assaulted
Her on Flight, FOX NEWS (Sept. 28, 2018), https://www.foxnews.com/travel/delta-passenger-sues-airline-
claims-crew-didnt-detain-passenger-who-sexually-assaulted-her-on-flight; Allison Dvaladze, Airline
Industry Treats Sexual Assaults in the Skies Like an Inconvenience, Not a Crime, USA TODAY (Apr. 1,
2019, 6:00 AM ET), https://www.usatoday.com/story/opinion/voices/2019/04/01/sexual-assault-airline-
flight-elaine-chao-trump-boeing-column/3312204002/; Christopher Mele, Sexual Assault on Flights:
Experts Recommend Ways to Stay Safe and Combat It, N.Y. TIMES (Mar. 23, 2019),
https://www.nytimes.com/2019/03/23/travel/airline-flights-sexual-assault.html; David Oliver, Passenger
Indicted for Alleged Mid-Flight Sexual Assault of 19-Year-Old Woman, USA TODAY (May 21, 2019,
9:54 AM ET), https://www.usatoday.com/story/travel/flights/2019/05/21/united-airlines-passenger-
alleges-sexual-assault/3751023002/.
8
  FBI, Sexual Assault Aboard Aircraft: Raising Awareness About a Serious Federal Crime, FBI NEWS
(Apr. 26, 2018), https://www.fbi.gov/news/stories/raising-awareness-about-sexual-assault-aboard-aircraft-
042618.



                                                   6
     Case 1:19-cv-03544 Document 1 Filed 12/16/19 USDC Colorado Page 9 of 24




the plane lands to conduct interviews and take subjects into custody. FBI victim specialists can

respond as well, because victims of federal crimes are entitled by law to a variety of services.”9

        37.       The media has reported about airlines in general failing to adequately respond to

in-flight sexual assault, reporting that frequently: victims might be forced to stay in their

assigned seat next to their assailant for the duration of the flight; no reprimand or action is taken

against the assailant; law enforcement is not notified from the air so they are not there when the

plane lands; the assailant is allowed to de-plane without being questioned, detained, or even

identified; the victim has to wait at the gate – sometimes for hours – for the gate agents to call

TSA, who usually calls the local police (not the FBI); the local police sometimes won’t even take

a report because in-flight assaults are not within their jurisdiction; the airline simply tells the

victim to call customer service with her “complaint;” no identities (of assailant or potential

witnesses) are shared with the victim or recorded; no evidence is preserved; and the victim is left

to contact the FBI herself, with no evidence or identities to support her report of the crime she

has suffered.10

        38.       Eighty-six percent of flight attendants surveyed said they were uncertain of, or

had no knowledge of, any policies, procedures, or even guidance from their airlines for handling

sexual assault reports.11




9
  Id.
10
   What Happens After You’re Sexually Assaulted on a Plane? Not Much, SPLINTER (Oct. 31, 2016,
1:29 PM), https://splinternews.com/what-happens-after-youre-sexually-assaulted-on-a-plane-
1793863317. The 2017 Association of Flight Attendants survey found that law enforcement (not
necessarily the FBI) was contacted or met the plane less than half the time. #MeToo in the Air,
ASSOCIATION OF FLIGHT ATTENDANTS-CWA, https://www.afacwa.org/metoo#a1.
11
   #MeToo in the Air, ASSOCIATION OF FLIGHT ATTENDANTS-CWA, https://www.afacwa.org/metoo#a1.




                                                   7
  Case 1:19-cv-03544 Document 1 Filed 12/16/19 USDC Colorado Page 10 of 24




       39.     Frontier knew – or should have known – of this growing prevalence of in-flight

sexual assaults because it is widely available and known public knowledge.

       B.      Frontier Has A Duty to Protect And Aid Its Passengers.

       40.     As a common carrier, Frontier has a special duty under common law to provide

due care to ensure and protect and aid in the protection of passengers’ safety.

       41.     Passengers entrust and have entrusted Frontier with this duty of care to ensure and

protect and aid in the protection of their safety while they are passengers on a Frontier flight.

       42.     Frontier’s special duty to provide due care to ensure and protect and aid in the

protection of passengers’ safety includes a duty to take reasonable steps to prevent and deter in-

flight sexual assault on its flights, and to properly respond to such assaults that do occur,

particularly in light of Frontier’s knowledge of the growing prevalence of in-flight sexual assault.

       43.     While passengers are on a plane, they have little control over their surroundings:

they are in cramped quarters; they cannot leave the plane until it lands; and they cannot engage

in activities such as making phone calls or easily communicating with friends, family, or police

authorities in the case of an emergency.

       44.     Frontier has control over passengers’ surroundings and, indeed, their activities

during the time they are onboard the plane.

       45.     Frontier can – and does – exercise control over passengers who exhibit violent or

disruptive behavior, reserving the right in its contract of carriage to refuse transportation to




                                                  8
     Case 1:19-cv-03544 Document 1 Filed 12/16/19 USDC Colorado Page 11 of 24




individuals who are intoxicated, unruly, interfering with a member of the flight crew, disobeying

flight crew instructions, and/or wearing an unpermitted deadly or dangerous weapon.12

         46.     Frontier can – and has a duty to – implement and enforce policies and procedures

to prevent and deter in-flight sexual assaults and to properly respond to those that do occur, just

as it does with other forms of passenger violence and disruption.

         C.      Frontier Breached Its Duty to Its Passengers By Failing to Have or Enforce
                 Adequate Policies and Procedures To Prevent and Properly Respond to In-
                 Flight Sexual Assaults.

         47.     Upon information and belief, Frontier does not have and/or enforce adequate

policies and procedures to prevent sexual assaults on its flights and to properly respond to

incidents that do happen.13

         48.     By contrast, Frontier does have policies and procedures that it follows for

handling passengers who are violent or disruptive in a number of other enumerated ways.14

         49.     Frontier’s failure to have and/or enforce adequate policies and procedures for the

prevention of and response to in-flight sexual assaults is a breach of its affirmative duty to

protect and care for its passengers.




12
   FRONTIER AIRLINES CONTRACT OF CARRIAGE, p. 3-5 (effective date Oct. 25, 2019),
https://www.flyfrontier.com/legal/contract-of-carriage?mobile=true.
13
   Prior to filing suit, Plaintiffs attempted to learn from Frontier whether it had any policies or procedures
for the prevention of or response to in-flight sexual assaults. On November 7, 2019, Plaintiffs sent a
demand letter to Frontier and its counsel requesting that information and seeking to discuss resolution of
Plaintiffs’ class claims. See Ex. A. Neither Frontier nor its counsel provided any substantive response to
Plaintiffs’ letter, despite Plaintiffs allowing them over five weeks to do so.
14
   In its contract of carriage, Frontier reserves the right to refuse transportation to individuals who are, for
example: intoxicated, unruly, interfering with a member of the flight crew, disobeying flight crew
instructions, and/or wearing an unpermitted deadly or dangerous weapon. FRONTIER AIRLINES
CONTRACT OF CARRIAGE, p. 3-5 (effective date Oct. 25, 2019),
https://www.flyfrontier.com/legal/contract-of-carriage?mobile=true.



                                                       9
     Case 1:19-cv-03544 Document 1 Filed 12/16/19 USDC Colorado Page 12 of 24




         D.     As a Result of Frontier’s Failure to Have or Enforce Adequate Policies and
                Procedures, Its Passengers Are Put At Risk and Harmed.

         50.    Frontier’s lack of and/or failure to enforce adequate policies and procedures for

the prevention of and response to in-flight sexual assault puts all its passengers at risk of harm,

and causes harm to those sexually assaulted by their fellow passengers.

         51.    Moreover, Frontier’s lack of and/or failure to enforce adequate policies and

procedures for the proper response to in-flight sexual assaults that do occur exacerbates and

amplifies the trauma of the actual assault due to institutional betrayal.

         52.    The term “Institutional Betrayal” refers to wrongdoings perpetrated by an

institution upon individuals dependent on that institution, including failure to prevent or respond

supportively to wrongdoings by individuals (e.g. sexual assault) committed within the context of

the institution.15

                                 CLASS ACTION ALLEGATIONS

         53.    Pursuant to the Federal Rules of Civil Procedure 23(b)(2), 23(b)(3), and 23(c)(4),

Plaintiffs bring this action on behalf of themselves and the following class of others who are

similarly situated:

         Nationwide Class: All passengers who flew on Frontier flights between December 16

         2017 and the present.

         54.    Excluded from the class are Defendant, its affiliates and subsidiaries; counsel for

Defendant, their immediate family members, and employees of their firms; and judicial officers

assigned to this case and their staffs and immediate family members.

15
  Jennifer J. Freyd, Institutional Betrayal and Institutional Courage,
https://dynamic.uoregon.edu/jjf/institutionalbetrayal/. See also Carly Parnitzke Smith & Jennifer J. Freyd,
Institutional Betrayal, 69 AM. PSYCH. ASSOC. 575 (2014).



                                                    10
  Case 1:19-cv-03544 Document 1 Filed 12/16/19 USDC Colorado Page 13 of 24




       55.     Plaintiffs reserve the right to amend or modify the above class definition with

greater specificity or division into subclasses after having had an opportunity to conduct

discovery.

       56.     The Class consists of hundreds, if not thousands, of passengers, making joinder

impracticable, in satisfaction of Fed. R. Civ. P. 23(a)(1). The exact size of the Class and the

identities of individual members are ascertainable through records maintained by Frontier.

       57.     Numerosity: The members of the class are so numerous that their individual

joinder is impracticable. Upon information and belief, there are hundreds if not thousands of

class members, whose names and addresses are readily available from Defendant’s records.

       58.     Commonality: There are questions of law and fact common to the class, which

predominate over any questions affecting individual members of the class, as detailed in

paragraph 60 below.

       59.     Typicality: Plaintiffs’ claims are typical of the other Class members’ claims

because Plaintiffs and Class members were subjected to the same wrongful conduct in the same

manner.

       60.     Existence and Predominance of Common Questions of Fact and Law: This action

involves common questions of law and fact that predominate over any questions affecting

individual class members, including, without limitation:

               (a)     Whether Defendant owed a duty to Plaintiffs and Class members to

protect and aid in the protection of their safety while traveling on Frontier flights;

               (b)     Whether Defendant breached its duties to Plaintiffs and Class members;




                                                  11
  Case 1:19-cv-03544 Document 1 Filed 12/16/19 USDC Colorado Page 14 of 24




               (c)     Whether Defendant knew or reasonably should have known of the

prevalence of and foreseeability of passenger-on-passenger in-flight sexual assault on its flights;

               (d)     Whether Defendant lacked and/or failed to enforce adequate policies or

procedures to prevent/deter in-flight sexual assaults;

               (e)     Whether Defendant lacked and/or failed to enforce adequate policies or

procedures to respond to in-flight sexual assaults that do occur;

               (f)     Whether Defendant lacked and/or failed to enforce any policies to

prevent/deter in-flight sexual assaults;

               (g)     Whether Defendant lacked and/or failed to enforce adequate policies to

respond to in-flight sexual assaults that do occur;

               (h)     Whether Defendant is liable for negligence;

               (i)     Whether Defendant is liable for willful and wanton conduct;

               (j)     Whether Defendant is liable for negligent infliction of emotional distress;

               (k)     Whether Defendant is liable for intentional infliction of emotional distress;

and

               (l)     Whether Plaintiffs and Class members suffered harm as a result of

Defendant’s violations and, if so, the appropriate measure of damages.

       61.     Adequacy of Representation: Plaintiffs are adequate class representatives. Their

interests do not conflict with the interests of the other Class members they seek to represent.

Plaintiffs have retained counsel competent and experienced in complex class action litigation,

and they intend to prosecute this action vigorously. Plaintiffs and their counsel will fairly and

adequately pursue and protect the interests of the class.




                                                 12
  Case 1:19-cv-03544 Document 1 Filed 12/16/19 USDC Colorado Page 15 of 24




        62.     Superiority: A class action is superior to all other available means for the fair and

efficient adjudication of this controversy. The highly sensitive and private nature of the facts

involved here counsels toward providing a class vehicle to adjudicate these claims. The damages

or other financial detriment suffered by Plaintiffs and the other class members are relatively

small compared to the burden and expense that would be required to individually litigate these

claims. As a result, it would be impracticable for class members to seek redress individually.

Individualized litigation would also create a potential for inconsistent or contradictory judgments

and increase the delay and expense to all parties and the court system. By contrast, the class

action device presents far fewer management difficulties and provides the benefits of single

adjudication, economy of scale, and comprehensive supervision by a single court.

        63.     Particular Issues: The claims of Plaintiffs and Class members involve common

issues that may be adjudicated on a class-wide basis pursuant to Rule 23(c)(4).

                                  FIRST CLAIM FOR RELIEF
                                        NEGLIGENCE

        64.     Plaintiffs restate and incorporate herein by reference the preceding paragraphs as

if fully set forth herein.

        65.     Frontier, as a common carrier, has a special duty to provide due care to ensure and

protect and aid in the protection of passengers’ safety. This duty includes one to take reasonable

steps prevent and deter in-flight sexual assault on its flights, and to properly respond to such

assaults that do occur, particularly in light of Frontier’s knowledge of the growing prevalence of

in-flight sexual assault.

        66.     Frontier had special duties to protect the Plaintiffs and Class members, when such

individuals were passengers entrusted to Frontier’s care. Plaintiffs and Class members’ safety




                                                 13
  Case 1:19-cv-03544 Document 1 Filed 12/16/19 USDC Colorado Page 16 of 24




and well-being were entrusted to Frontier during their flights. Frontier voluntarily accepted the

entrusted care of Plaintiffs and Class members. As such, Frontier owed Plaintiffs and Class

members a special duty of care that common carriers dealing with passengers owe to protect

them from harm, and to aid them in preventing and responding to harm. The duty to protect and

warn arose from the common carrier doctrine that applies to airline carriers.

        67.     Upon information and belief, Frontier knew or should have known of the

prevalence of in-flight passenger-on-passenger sexual assault and of the likelihood of risk and

harm to its passengers absent implementation and enforcement of appropriate policies.

        68.     Frontier breached its duty of care to Plaintiffs and Class members by failing to

implement and enforce uniform policies and procedures for the prevention, deterrence, and

response to in-flight sexual assaults on its flights; by failing to report in-flight sexual assaults to

the proper authorities, or to any authorities; and by failing to cooperate with authorities in the

reporting and investigation process into in-flight sexual assaults.

        69.     As a direct, proximate, and foreseeable result of the above-described misconduct,

Plaintiffs and Class members were – and still are being – put at unnecessary risk of harm and in

many cases suffered and continue to suffer great pain of mind and body, shock, emotional

distress, physical manifestations of emotional distress including depression, anxiety, humiliation,

loss of enjoyment of life, and fear of flying and travel; have suffered and continue to suffer and

were prevented and will continue to be prevented from performing daily activities and obtaining

the full enjoyment of life; may sustain loss of earnings and earning capacity; and may incur

expenses for medical and psychological treatment, therapy, and counseling.




                                                   14
  Case 1:19-cv-03544 Document 1 Filed 12/16/19 USDC Colorado Page 17 of 24




                          SECOND CLAIM FOR RELIEF
                 NEGLIGENT INFLICTION OF EMOTIONAL DISTRESS

        70.     Plaintiffs restate and incorporate herein by reference the preceding paragraphs as

if fully set forth herein, and to the extent necessary, plead this claim for relief in the alternative.

        71.     Frontier’s conduct negligently caused emotional distress to Plaintiffs and Class

members.

        72.     Frontier knew or reasonably should have known that a passenger who

experienced in-flight sexual assault and was treated poorly or inadequately in the aftermath

would experience emotional distress.

        73.     Frontier could reasonably foresee that its actions and omissions would have

caused emotional distress to Plaintiffs and the Class members.

        74.     Plaintiffs and the Class members were in a specific zone of danger as passengers

on Frontier flights, unable to escape from their assailant, or report a crime to the authorities on

their own.

        75.     As a result of Frontier’s conduct, Plaintiffs and Class members sustained severe

emotional distress, physical manifestations of emotional distress, emotional anguish, fear,

anxiety, humiliation, depression, and other physical and emotional injuries, and damages (both

economic and noneconomic), in the past, present, and future, for which this claim is made. The

injuries suffered by Plaintiffs and Class members are substantial, continuing, and permanent.

        76.     Frontier’s conduct caused suffering for Plaintiffs and the Class members at levels

that no reasonable person should have to endure.




                                                   15
  Case 1:19-cv-03544 Document 1 Filed 12/16/19 USDC Colorado Page 18 of 24




                           THIRD CLAIM FOR RELIEF
                 INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS

        77.     Plaintiffs restate and incorporate herein by reference the preceding paragraphs as

if fully set forth herein, and to the extent necessary, plead this claim for relief in the alternative.

        78.     Frontier’s extreme and outrageous conduct intentionally or recklessly caused

severe emotional distress to Plaintiffs and the Class members.

        79.     Frontier acted with intent or recklessness, knowing that passengers were likely to

endure emotional distress given their relative lack of power or control over their situation or

ability to report a crime while passengers on Frontier flights, and given Frontier’s failure to

report or adequately respond to Plaintiffs’ suffering a sexual assault while in-flight.

        80.     As a result of Frontier’s conduct, Plaintiffs and Class members sustained severe

emotional distress, physical manifestations of emotional distress, emotional anguish, fear,

anxiety, humiliation, depression, and other physical and emotional injuries, and damages (both

economic and noneconomic), in the past, present, and future, for which this claim is made. The

injuries suffered by Plaintiffs and Class members are substantial, continuing, and permanent.

        81.     Frontier’s conduct caused suffering for Plaintiffs and the Class members at levels

that no reasonable person should have to endure.

                               FOURTH CLAIM FOR RELIEF
                             WILLFUL AND WANTON CONDUCT

        82.     Plaintiffs restate and incorporate herein by reference the preceding paragraphs as

if fully set forth herein.

        83.     Frontier owed Plaintiffs and Class members a duty to use due care to ensure their

safety and freedom from sexual assault while passengers on Frontier flights.




                                                   16
  Case 1:19-cv-03544 Document 1 Filed 12/16/19 USDC Colorado Page 19 of 24




       84.     Frontier owed Plaintiffs and Class members a duty to use due care to respond

appropriately and properly to incidents of sexual assault that occurred in-flight.

       85.     Frontier’s conduct demonstrated a willful disregard for precautions to ensure

Plaintiffs and Class members’ safety and to respond to incidents that harmed or threatened

Plaintiffs and Class members’ safety.

       86.     Frontier breached duties owed to Plaintiffs and Class members in a manner

demonstrating Frontier must have realized as dangerous, and did so heedlessly and recklessly,

without regard to consequences, or to the rights and safety of others, especially Plaintiffs and

Class members.

       87.     As a result of Frontier’s conduct, Plaintiffs and Class members sustained severe

emotional distress, physical manifestations of emotional distress, emotional anguish, fear,

anxiety, humiliation, depression, and other physical and emotional injuries, and damages (both

economic and noneconomic), in the past, present, and future, for which this claim is made. The

injuries suffered by Plaintiffs and Class members are substantial, continuing, and permanent.

                               FIFTH CLAIM FOR RELIEF
                          INJUNCTIVE AND EQUITABLE RELIEF

       88.     All allegations and paragraphs in this complaint are incorporated by reference.

       89.     An actual, justiciable controversy exists between Plaintiffs and Class Members

and Frontier. A judgment from this Court regarding these issues would afford relief from

uncertainty and insecurity with respects to rights, status, and other legal relations of the parties.

       90.     Frontier is required under Colorado law to protect and aid its passengers. This

includes a duty:

               (a)     to protect passengers from sexual assaults by fellow passengers, and




                                                  17
  Case 1:19-cv-03544 Document 1 Filed 12/16/19 USDC Colorado Page 20 of 24




                (b)       to respond properly to in-flight sexual assaults that do occur.

        91.     Frontier has breached its duty to Plaintiffs and Class Members by failing:

                (a)       to implement and enforce appropriate policies and procedures to prevent,

or properly respond to, in-flight sexual assaults;

                (b)       to report in-flight sexual assaults to the proper authorities, or to any

authorities; and

                (c)       to cooperate with authorities in the reporting and investigation process into

in-flight sexual assaults.

        92.     Plaintiffs and Class Members have an adverse legal interest to Frontier. This

adverse interest and the controversy that exists between the parties can be resolved through the

specific relief sought.

        93.     Wherefore, Plaintiffs, on behalf of themselves and the Class, requests that the

Court issue an Order:

                (a)       requiring Frontier to establish and implement a uniform policy, including

training and education for its employees and crew members, for how to identify in-flight sexual

assault;

                (b)       requiring Frontier to establish and implement a policies and procedures for

the prevention and deterrence of in-flight sexual assault, including passenger education and

messaging, clear communication of consequences, more frequent cabin walk-throughs, and

passenger cabin monitoring by closed-circuit TV, among others;




                                                    18
  Case 1:19-cv-03544 Document 1 Filed 12/16/19 USDC Colorado Page 21 of 24




                 (c)    requiring Frontier to establish and implement a uniform policy, including

training and education for its staff, for how to respond to in-flight sexual assault that includes

humane and trauma-informed treatment of the alleged victim(s);

                 (d)    requiring Frontier to centrally track all reports of in-flight sexual assault;

                 (e)    requiring Frontier to establish a uniform policy, including training and

education for its staff, for how to report in-flight sexual assault to the FBI, and making reporting

of in-flight sexual assault to the FBI mandatory;

                 (f)    requiring Frontier to set a lifetime ban on passengers who commit sexual

assault on Frontier flights;

                 (g)    requiring Frontier to cooperate with the FBI and any other law

enforcement in the ongoing and future investigations into in-flight sexual assault on Frontier

flights; and

                 (h)    such other relief as may be determined best-practice after consultation

with experts in the prevention and response to sexual assault.

                                      PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs, individually and on behalf of the Class defined above,

respectfully requests that the Court:

       A.        Certify this action as a class action under Rule 23 of the Federal Rules of Civil

Procedure, appoint Plaintiffs as class representatives, and appoint the undersigned counsel as

class counsel;

       B.        Award Plaintiffs and Class members compensatory, general, and/or consequential

damages in an amount to be determined at trial;




                                                  19
Case 1:19-cv-03544 Document 1 Filed 12/16/19 USDC Colorado Page 22 of 24




    C.    Award pre-judgment interest as permitted by law;

    D.    Enter appropriate equitable relief as described in the Fifth Claim above;

    E.    Award reasonable attorneys’ fees and costs, as provided for by law; and

    F.    Grant such other and further relief as the Court deems just and proper.




                                           20
Case 1:19-cv-03544 Document 1 Filed 12/16/19 USDC Colorado Page 23 of 24




                              DEMAND FOR JURY TRIAL

    Plaintiffs demand a trial by jury on all issues so triable.




                                              21
Case 1:19-cv-03544 Document 1 Filed 12/16/19 USDC Colorado Page 24 of 24




Dated: December 16, 2019      Respectfully submitted,



                              By:
                                         Annika K. Martin

                              Jonathan D. Selbin
                              Annika K. Martin
                              Anne B. Shaver (Colorado Bar No. 39933)
                              Rachel E. Green
                              LIEFF, CABRASER, HEIMANN & BERNSTEIN, LLP
                              250 Hudson Street, 8th Floor
                              New York, NY 10013-1413
                              Telephone: (212) 355-9500
                              Facsimile: (212) 355-9592
                              E-mail: jselbin@lchb.com
                                      akmartin@lchb.com
                                      ashaver@lchb.com
                                      rgreen@lchb.com

                              Pamela Maass (Colorado Bar No. 42408)
                              MAASS LAW
                              26 W. Dry Creek Cir., Suite 600
                              Littleton, CO 80120
                              Telephone: (720) 899-3541
                              E-mail: pam@lifelegacyfirm.com

                              Tyler H. Fox
                              TYLER FOX, ESQ.
                              689 Massachusetts Ave.
                              Cambridge, MA 02139
                              Telephone: (866) 296-1965
                              E-mail: tylerfox@verizon.net

                              Attorneys for Plaintiffs and the Putative Class




                                    22
